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                   UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

    DENISE SHIVERY,
                 Plaintiff,                Case No. 4:22-CV-00873

               v.                          (Chief Judge Matthew W. Brann)

    PENNSYLVANIA STATE                     Jury Trial Demanded
    UNIVERSITY,
                Defendant.


         DEFENDANT’S ANSWER WITH AFFIRMATIVE DEFENSES

        I.    INTRODUCTION1

        Defendant, the Pennsylvania State University (“University” or “Defendant”),

by and through its undersigned counsel, hereby files the within Answer to the

Complaint filed by Plaintiff, Denise Shivery (“Shivery” or “Plaintiff”).          The

numbered paragraphs of this Answer correspond to the like-numbered paragraphs of

the Complaint, and unless specifically admitted herein, each factual allegation in the

Complaint is hereby denied.




1
   For clarity and ease of reference, the University incorporates verbatim the
subheadings utilized by Plaintiff in the Complaint. The University’s incorporation
of such subheadings shall not be deemed admissions by the University, nor the
adoption of any facts, allegations, or arguments contained in, or implied by, the
subheadings set forth in the Complaint.
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      II.    PARTIES

      1.     Admitted in part; denied in part. It is admitted only that Plaintiff is an

adult individual. All remaining allegations are denied. By way of further response,

Defendant is without information or belief as to Plaintiff’s current residence and the

allegations in relation to the same are, therefore, denied.

      2.     Admitted.

      3.     Admitted.

      4.     Admitted.

      5.     Denied. The averments of this paragraph are legal conclusions to which

no responsive pleading is required. To the extent a response is deemed required, the

averments of this paragraph are denied.

      6.     Denied. The averments of this paragraph are legal conclusions to which

no responsive pleading is required. To the extent a response is deemed required, the

averments of this paragraph are denied.

      7.     Denied. The averments of this paragraph are legal conclusions to which

no responsive pleading is required. To the extent a response is deemed required, the

averments of this paragraph are denied.

      III.   JURISDICTION AND VENUE

      8.     Admitted in part; denied in part. The Complaint is a writing that speaks

for itself and Defendant denies Plaintiff’s characterization of the contents of the


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same. By way of further responses, the averments of this paragraph are legal

conclusions to which no responsive pleading is required. To the extent a response

is deemed required, it is only admitted that Plaintiff’s Complaint purports to

establish violations of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e–

2000e-17 (“Title VII”), and the Pennsylvania Human Relations Act, 43 P.S. §§ 951–

963 (“PHRA”).

      9.     Denied. The averments of this paragraph are legal conclusions to which

no responsive pleading is required. To the extent a response is deemed required, the

averments of this paragraph are denied.

      10.    Denied. The averments of this paragraph are legal conclusions to which

no responsive pleading is required. To the extent a response is deemed required, the

averments of this paragraph are denied.

      11.    Denied. The averments of this paragraph are legal conclusions to which

no responsive pleading is required. To the extent a response is deemed required, the

averments of this paragraph are denied.

      12.    Admitted in part; denied in part. It is admitted only that Plaintiff dual-

filed a Charge with the Pennsylvania Human Relations Commission (“PHRC”) and

the United States Equal Employment Opportunity Commission (“EEOC”).

Plaintiff’s Charge is a writing that speaks for itself and Defendant denies Plaintiff’s

characterization of the contents of the same.       By way of further answer, the


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averments of this paragraph are legal conclusions to which no responsive pleading

is required. To the extent a response is deemed required, the averments of this

paragraph are denied.

      13.    Admitted in part; denied in part. It is admitted only that Plaintiff

received a right-to-sue letter as a result of her attorney’s request for the same. The

letter is a writing that speaks for itself and Defendant denies Plaintiff’s

characterization of the contents of the same.

      14.    Denied. The averments of this paragraph are legal conclusions to which

no responsive pleading is required. To the extent a response is deemed required, the

averments of this paragraph are denied.

      IV.    FACTUAL ALLEGATIONS

      15.    Admitted.

      16.    Admitted.

      17.    Admitted.

      18.    Admitted.

      19.    Admitted.

      20.    Admitted.

      21.    After reasonable investigation, Defendant is without knowledge or

information sufficient to form a belief as to the referenced discussion or the

referenced conduct attributed to Kenya Mann Faulkner (hereinafter, “Faulkner”) in


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Paragraph 21. By way of further answer, Defendant denies that Faulkner took any

action in relation to Plaintiff that was premised upon any discriminatory or

retaliatory motive.

        22.   Admitted in part; denied in part.   Defendant admits that Plaintiff

received a mid-year review in January 2019. Defendant denies Plaintiff’s subjective

conclusion that the review was “positive.”

        23.   Admitted in part; denied in part. Defendant admits that Faulkner

submitted documents to the University’s Human Resources Department in relation

to Plaintiff’s position in January 2019. Such documents are writings that speak for

themselves and Defendant denies Plaintiff’s characterizations with respect to the

same.

        24.   After reasonable investigation, Defendant is without knowledge or

information sufficient to form a belief as to the referenced discussion and,

accordingly, denies those averments.

        25.   After reasonable investigation, Defendant is without knowledge or

information sufficient to form a belief as to the referenced discussion and,

accordingly, denies those averments.

        26.   After reasonable investigation, Defendant is without knowledge or

information sufficient to form a belief as to the referenced discussion and,

accordingly, denies those averments.


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      27.    After reasonable investigation, Defendant is without knowledge or

information sufficient to form a belief as to the referenced discussion and,

accordingly, denies those averments.

      28.    After reasonable investigation, Defendant is without knowledge or

information sufficient to form a belief as to the referenced discussion and,

accordingly, denies those averments.

      29.    After reasonable investigation, Defendant is without knowledge or

information sufficient to form a belief as to Plaintiff’s observations and, accordingly,

denies those averments. By way of further answer, Defendant denies the conduct

attributed to Faulkner in Paragraph 29.

      30.    Defendant denies that Faulkner “routinely made comments that were

discriminatory based on sex.” By way of further answer, Plaintiff’s allegations

constitute legal conclusions to which no responsive pleading is required. To the

extent a response is deemed required, the averments of this paragraph are denied.

      31.    Defendant denies the comments attributed to Faulkner in Paragraph 31.

      32.    After reasonable investigation, Defendant is without knowledge or

information sufficient to form a belief as to what Plaintiff may have heard and,

accordingly, denies those averments. By way of further answer, Defendant denies

the conduct attributed to Faulkner in Paragraph 32.




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      33.    Defendant denies the factual averments of Paragraph 33 on the basis

that such allegations are unduly vague and, accordingly, Defendant is unable to

formulate an appropriate response to the same. Specifically, Plaintiff fails to identify

the employees, direct reports or job duties involved. By way of further answer,

Defendant denies that Faulkner took any action on the basis of an employee’s sex or

premised upon any discriminatory or retaliatory motive.

      34.    Defendant denies the factual averments of Paragraph 34 on the basis

that such allegations are unduly vague and, accordingly, Defendant is unable to

formulate an appropriate response to the same. Specifically, Plaintiff fails to identify

the employees or job duties involved. By way of further answer, Defendant denies

that Faulkner took any action on the basis of an employee’s sex or premised upon

any discriminatory or retaliatory motive.

      35.    Defendant denies the factual averments of Paragraph 35 on the basis

that such allegations are unduly vague and, accordingly, Defendant is unable to

formulate an appropriate response to the same. Specifically, Plaintiff fails to identify

the employees involved. By way of further answer, Defendant denies that Faulkner

took any action on the basis of an employee’s sex or premised upon any other

discriminatory or retaliatory motive.

      36.    Defendant denies the comments attributed to Faulkner in Paragraph 36.




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      37.   After reasonable investigation, Defendant is without knowledge or

information sufficient to form a belief as to the allegations contained in this

paragraph and, accordingly, denies those averments. To the extent that any further

response is deemed required, the factual averments and any legal conclusions

contained in this paragraph are denied.

      38.   After reasonable investigation, Defendant is without knowledge or

information sufficient to form a belief as to the allegations contained in this

paragraph and, accordingly, denies those averments. To the extent that any further

response is deemed required, the factual averments and any legal conclusions

contained in this paragraph are denied.

      39.   After reasonable investigation, Defendant is without knowledge or

information sufficient to form a belief as to the allegations contained in this

paragraph and, accordingly, denies those averments. To the extent that any further

response is deemed required, the factual averments and any legal conclusions

contained in this paragraph are denied.

      40.   Admitted in part; denied in part. Defendant admits only that the alleged

conversation occurred and that Plaintiff advised Clint Eury (“Eury”) of her

subjective concerns in relation to Faulkner. By way of further response, after

reasonable investigation, Defendant is without knowledge or information sufficient




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to form a belief as to the referenced discussion and, accordingly, denies those

averments.

      41.    Admitted in part; denied in part. Defendant admits only that the alleged

conversation occurred and that Plaintiff advised Eury of her subjective concerns in

relation to Faulkner. Defendant denies Plaintiff’s subjective characterization that

Eury “assured Plaintiff that she would be protected by Defendant’s anti-retaliation

policy.” By way of further response, after reasonable investigation, Defendant is

without knowledge or information sufficient to form a belief as to the referenced

discussion and, accordingly, denies those averments.

      42.    The referenced email from David Gray (“Gray”) is a writing that speaks

for itself. Defendant denies Plaintiff’s characterizations with respect to the same.

      43.    Defendant admits only that the referenced contact and meeting occurred

with the identified participants.

      44.    Defendant admits only that the referenced meeting occurred and that

Plaintiff advised the identified participants of her subjective concerns in relation to

Faulkner.

      45.    Defendant admits only that the referenced meeting occurred and that

Plaintiff advised the identified participants of her subjective concerns in relation to

Faulkner.    After reasonable investigation, Defendant is without knowledge or




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information sufficient to form a belief as to the referenced discussion and,

accordingly, denies those averments.

      46.    Defendant denies the factual averments of Paragraph 46 on the basis

that such allegations are unduly vague and, accordingly, Defendant is unable to

formulate an appropriate response to the same. Specifically, Plaintiff fails to identify

the individual who allegedly communicated the information referenced in Paragraph

46 to her. By way of further answer, after reasonable investigation, Defendant is

without knowledge or information sufficient to form a belief as to the referenced

communication and, accordingly, denies the same.

      47.    Admitted.

      48.    Defendant denies the conduct attributed to Faulkner in Paragraph 48.

By way of further answer, Defendant denies that Faulkner took any action in relation

to Plaintiff that was premised upon any discriminatory or retaliatory motive.

      49.    Defendant denies the conduct attributed to Faulkner in Paragraph 49.

By way of further answer, Defendant denies that Faulkner took any action in relation

to Plaintiff that was premised upon any discriminatory or retaliatory motive.

      50.    Defendant denies the conduct attributed to Faulkner in Paragraph 50.

By way of further answer, Defendant denies that Faulkner took any action in relation

to Plaintiff that was premised upon any discriminatory or retaliatory motive.




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      51.    Admitted in part; denied in part. Defendant admits only that Plaintiff

was not promoted and not appointed as referenced in this paragraph. Defendant

denies that Plaintiff was promised the referenced promotion and appointment by

Faulkner. By way of further answer, Defendant denies that Faulkner took any action

in relation to Plaintiff premised upon any discriminatory or retaliatory motive.

      52.    Admitted in part; denied in part. Defendant admits only that Plaintiff

was not invited to join the Ethics and Compliance Council or to accompany Faulkner

on outreach visits as referenced in this paragraph. Defendant denies that Plaintiff

was promised such opportunities by Faulkner or that such responsibilities fell within

the scope of her position. By way of further answer, Defendant denies that Faulkner

took any action in relation to Plaintiff premised upon any discriminatory or

retaliatory motive.

      53.    The referenced email is a writing which speaks for itself and Defendant

denies Plaintiff’s characterizations with respect to the same.

      54.    The referenced email is a writing which speaks for itself and Defendant

denies Plaintiff’s characterizations with respect to the same.

      55.    The referenced email is a writing which speaks for itself and Defendant

denies Plaintiff’s characterizations with respect to the same.

      56.    The referenced email is a writing which speaks for itself and Defendant

denies Plaintiff’s characterizations with respect to the same.


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      57.       Admitted in part; denied in part. Defendant admits only that the

referenced meeting occurred and that Plaintiff repeated her allegations against

Faulkner during such encounter. Defendant denies that the limited excerpts provided

by Plaintiff in this paragraph fairly reflect the totality of the discussion between the

participants.

      58.       Admitted in part; denied in part. Defendant admits only that the

referenced meeting occurred and that Plaintiff repeated her allegations against

Faulkner during such encounter. Defendant denies that the limited excerpts provided

by Plaintiff in this paragraph fairly reflect the totality of the discussion between the

participants.

      59.       Admitted in part; denied in part. Defendant admits only that the

referenced meeting occurred. Defendant denies that the limited excerpts provided

by Plaintiff in this paragraph reflect the totality of the discussion led by Gray.

      60.       Admitted.

      61.       Denied.     By way of further answer, Defendant denies that the

referenced change in reporting structure represented a demotion.

      62.       Admitted in part; denied in part. Defendant admits only that the

referenced discussion took place. Defendant denies that the limited excerpts of the

conversation provided by Plaintiff in this paragraph are accurate or fairly reflect the

totality of the discussion between the participants.


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      63.    Defendant denies that Plaintiff had “no performance or disciplinary

issues” before registering her complaints against Faulkner. By way of further

answer, Defendant denies any suggestion that the complaints registered by Plaintiff

played any role in the decision not to continue Plaintiff’s employment.

      64.    Admitted in part; denied in part. Defendant admits only that Plaintiff

applied for the positions referenced in this paragraph.        Defendant denies any

suggestion that Plaintiff was “qualified” or the most “qualified” candidate for any

such opening. By way of further answer, Plaintiff was hired as a Marketing

Communications      Specialist   4   in   the   University’s   Office   of   Strategic

Communications.

      65.    Admitted in part; denied in part. Defendant admits only that Plaintiff

was not hired for the positions referenced in Paragraph 64. Defendant denies any

suggestion that Plaintiff was “qualified” or the most “qualified” candidate for any

such opening. By way of further answer, Plaintiff was hired as a Marketing

Communications      Specialist   4   in   the   University’s   Office   of   Strategic

Communications.

      66.    Admitted in part; denied in part. Defendant admits only that the

referenced meeting occurred and that Plaintiff raised subjective concerns in relation

to Faulkner with Sandy Weaver (“Weaver”). Defendant denies the characterization




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of the issues raised as Plaintiff “being retaliated against for making sex

discrimination complaints.”

      67.    Admitted in part; denied in part. Defendant admits only that the

referenced discussion took place. Defendant denies that the limited excerpts of the

conversation provided by Plaintiff in this paragraph are accurate or fairly reflect the

totality of the discussion between the participants.

      68.    Admitted in part; denied in part. Defendant admits only that the

referenced discussion took place. Defendant denies that the limited excerpts of the

conversation provided by Plaintiff in this paragraph are accurate or fairly reflect the

totality of the discussion between the participants.

      69.    Denied. By way of further answer, Plaintiff was employed pursuant to

a fixed-term, renewable contract. There was always a risk that her contract would

not be renewed if Defendant’s needs changed. By way of further answer, Defendant

denies any suggestion that the complaints raised by Plaintiff played any role in the

decision not to continue Plaintiff’s employment.

      70.    Admitted in part; denied in part. Defendant admits only that the

referenced discussion took place and that Plaintiff reiterated her allegation that

Faulkner continued to “pick on her” during such discussion. Defendant denies that

the limited excerpts of the conversation provided by Plaintiff in this paragraph are

accurate or fairly reflect the totality of the discussion between the participants. By


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way of further answer, Defendant denies that Faulkner took any action in relation to

Plaintiff premised upon any discriminatory or retaliatory motive.

      71.    Defendant denies the factual averments of Paragraph 71 on the basis

that such allegations are unduly vague and, accordingly, Defendant is unable to

formulate an appropriate response to the same. Specifically, Plaintiff fails to identify

the employees who were “transferred and/or terminat[ed] and/or pushed out.” To

the extent that any further response is deemed required, Defendant denies the

averments of this paragraph.

      72.    Defendant denies the factual averments of Paragraph 72 on the basis

that such allegations are unduly vague and, accordingly, Defendant is unable to

formulate an appropriate response to the same. Specifically, Defendant fails to

identify the “behavior” at issue. By way of further answer, Defendant denies that

Faulkner took any action in relation to Plaintiff premised upon any discriminatory

or retaliatory motive.

      73.    Admitted in part; denied in part. Defendant admits only that the

referenced discussion took place and that Plaintiff was notified that her employment

would not be continued beyond June 30, 2020. Defendant denies that the limited

excerpts of the conversation provided by Plaintiff in this paragraph are accurate or

fairly reflect the totality of the discussion between the participants.




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      74.    Admitted in part; denied in part. Defendant admits only that the

referenced discussion took place and that Plaintiff was notified that her employment

would not be continued beyond June 30, 2020. Defendant denies that the limited

excerpts of the conversation provided by Plaintiff in this paragraph are accurate or

fairly reflect the totality of the discussion between the participants.

      75.    Admitted in part; denied in part. Defendant admits only that the

referenced discussion took place and that Plaintiff was notified that her employment

would not be continued beyond June 30, 2020. Defendant denies that the limited

excerpts of the conversation provided by Plaintiff in this paragraph are accurate or

fairly reflect the totality of the discussion between the participants.

      76.    Denied.     Plaintiff’s averment of “pretext for retaliation” is a legal

conclusion to which no responsive pleading is required. To the extent a response is

deemed required, the averments of this paragraph are denied. By way of further

answer, Plaintiff was employed pursuant to a fixed-term, renewable contract. There

was always a risk that her contract would not be renewed if Defendant’s needs

changed. Answering further, Defendant denies any suggestion that the complaints

raised by Plaintiff played any role in the decision not to continue Plaintiff’s

employment. Defendant denies that Faulkner took any action in relation to Plaintiff

premised upon any discriminatory or retaliatory motive.




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      77.    Admitted in part; denied in part. Defendant admits only that the

referenced discussion took place. Defendant denies that the limited excerpts of the

conversations provided by Plaintiff in this paragraph fairly reflect the totality of the

discussion between the participants.

      78.    Admitted in part; denied in part. Defendant admits only that the

referenced discussion took place. Defendant denies that the limited excerpts of the

conversations provided by Plaintiff in this paragraph fairly reflect the totality of the

discussion between the participants.

      79.    Admitted in part; denied in part. Defendant admits only that Plaintiff

applied for the positions referenced in this paragraph.        Defendant denies any

suggestion that Plaintiff was “qualified” or the most “qualified” candidate for any

such opening. By way of further answer, Plaintiff was hired as a Marketing

Communications      Specialist   4   in   the   University’s    Office   of   Strategic

Communications.

      80.    Admitted in part; denied in part. Defendant admits only that Plaintiff

was not hired for the positions referenced in Paragraph 79. Defendant denies any

suggestion that Plaintiff was “qualified” or the most “qualified” candidate for any

such opening. By way of further answer, Plaintiff was hired as a Marketing

Communications      Specialist   4   in   the   University’s    Office   of   Strategic

Communications.


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      81.    Denied. Plaintiff was hired as a Marketing Communications Specialist

4 in the University’s Office of Strategic Communications. By way of further answer,

Plaintiff remains eligible to apply for any openings with Defendant for which she is

qualified.

      82.    Admitted.

      83.    The referenced posting is embodied in a writing that speaks for itself.

Defendant denies Plaintiff’s characterizations with respect to the same.

      84.    Defendant denies the factual averments of Paragraph 84 on the basis

that such allegations are unduly vague and, accordingly, Defendant is unable to

formulate an appropriate response to the same. Specifically, Plaintiff fails to identify

the parties involved or medium of the alleged communication. To the extent that

any further response is deemed required, Defendant denies the averments of this

paragraph.

      85.    Defendant denies the characterization that Plaintiff was not

“interviewed” in conjunction with her allegations. Plaintiff had discussions with

various individuals in relation to her allegations of discrimination both prior to and

subsequent to her separation of employment.           During these discussions, the

substance of Plaintiff’s allegations were adequately conveyed.

      86.    After reasonable investigation, Defendant is without knowledge or

information sufficient to form a belief as to what Plaintiff may have been “told” or


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with whom she may have been in communication and, accordingly, denies the

averments of this paragraph on that basis. By way of further answer, Defendant

denies any suggestion that Plaintiff was retaliated against in any matter because of

her complaints of sex discrimination.

      87.   Denied. The averments of this paragraph are legal conclusions to which

no responsive pleading is required. To the extent a response is deemed required, the

averments of this paragraph are denied. By way of further answer, Defendant denies

any suggestion that Plaintiff was retaliated against in any matter because of her

complaints of sex discrimination.

      88.   Denied. The averments of this paragraph are legal conclusions to which

no responsive pleading is required. To the extent a response is deemed required, the

averments of this paragraph are denied. By way of further answer, Defendant denies

any suggestion that Plaintiff was retaliated against in any matter because of her

complaints of sex discrimination.

      89.   Denied. The averments of this paragraph are legal conclusions to which

no responsive pleading is required. To the extent a response is deemed required, the

averments of this paragraph are denied. By way of further answer, Defendant denies

any suggestion of retaliatory conduct in relation to Plaintiff. Defendant further

denies any bias against employees who engage in protected activity.




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      90.    Denied. The averments of this paragraph are legal conclusions to which

no responsive pleading is required. To the extent a response is deemed required, the

averments of this paragraph are denied.

      91.    Denied. The averments of this paragraph are legal conclusions to which

no responsive pleading is required. To the extent a response is deemed required, the

averments of this paragraph are denied.

      92.    Denied. The averments of this paragraph are legal conclusions to which

no responsive pleading is required. To the extent a response is deemed required, the

averments of this paragraph are denied.

      93.    Denied. The averments of this paragraph are legal conclusions to which

no responsive pleading is required. To the extent a response is deemed required, the

averments of this paragraph are denied. By way of further answer, Defendant denies

that Plaintiff is entitled to punitive damages.

      94.    Denied. The averments of this paragraph are legal conclusions to which

no responsive pleading is required. To the extent a response is deemed required, the

averments of this paragraph are denied.

                              COUNT I – TITLE VII

      95.    Defendant incorporates by reference its responses to the preceding

paragraphs of this Answer as if set forth herein at length.




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      96.    Denied. The averments of this paragraph are legal conclusions to which

no responsive pleading is required. To the extent a response is deemed required, the

averments of this paragraph are denied.

      97.    Denied. The averments of this paragraph are legal conclusions to which

no responsive pleading is required. To the extent a response is deemed required, the

averments of this paragraph are denied.

      98.    Denied. The averments of this paragraph are legal conclusions to which

no responsive pleading is required. To the extent a response is deemed required, the

averments of this paragraph are denied.

      99.    Denied. The averments of this paragraph are legal conclusions to which

no responsive pleading is required. To the extent a response is deemed required, the

averments of this paragraph are denied. Defendant further denies that Plaintiff is

entitled to the relief requested.

      100. Denied. The averments of this paragraph are legal conclusions to which

no responsive pleading is required. To the extent a response is deemed required, the

averments of this paragraph are denied. Defendant further denies that Plaintiff is

entitled to the relief requested.

                                    COUNT II – PHRA

      101. Defendant incorporates by reference its responses to the preceding

paragraphs of this Answer as if set forth herein at length.


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      102. Denied. The averments of this paragraph are legal conclusions to which

no responsive pleading is required. To the extent a response is deemed required, the

averments of this paragraph are denied.

      103. Denied. The averments of this paragraph are legal conclusions to which

no responsive pleading is required. To the extent a response is deemed required, the

averments of this paragraph are denied.

      104. Denied. The averments of this paragraph are legal conclusions to which

no responsive pleading is required. To the extent a response is deemed required, the

averments of this paragraph are denied. Defendant further denies that Plaintiff is

entitled to the relief requested.

      105. Denied. The averments of this paragraph are legal conclusions to which

no responsive pleading is required. To the extent a response is deemed required, the

averments of this paragraph are denied.

                                      RELIEF

      The various requests for relief in the WHEREFORE clause following

Paragraph 105 of the Complaint, including subparagraphs a) through j), contain

conclusions of law with respect to Defendant’s purported liability to, and relief

requested by, Plaintiff. On that basis, Defendant denies each and every item of relief

requested, and respectfully requests judgment in its favor and against Plaintiff,




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together with costs, expenses and fees incurred and such other relief as the Court

may deem just and appropriate.

                           AFFIRMATIVE DEFENSES

      Defendant reserves the right to assert any and all applicable defenses to

Plaintiff’s claims. Defendant has not yet obtained all necessary discovery from

Plaintiff or others in connection with this action and, therefore, reserves the right to

amend or otherwise supplement this pleading. Without limiting the generality of the

foregoing, without regard to whether the defenses set forth below are affirmative

defenses within the meaning of Federal Rule of Civil Procedure 8(c), without

conceding that any such defenses must be set forth in its Answer, and without

assuming the burden of proof on matters and issues other than those on which

Defendant has the burden of proof as a matter of law, Defendant states as follows:

                                 FIRST DEFENSE

      The Complaint fails to state a claim, in whole or in part, upon which relief can

be granted against Defendant.

                                SECOND DEFENSE

      Plaintiff’s claims are barred, in whole or in part, because the decisions made

in regard to her employment were legitimate, non-discriminatory, non-retaliatory

and non-pretextual.




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                                  THIRD DEFENSE

      Plaintiff’s claims are barred, in whole or in part, because Plaintiff cannot

establish that the legitimate business reasons offered by Defendant are pretext for

discrimination or retaliation.

                                 FOURTH DEFENSE

      Plaintiff’s claims are barred, in whole or in part, because Plaintiff cannot

establish that her sex or participation in a protected activity were considered in any

manner by Defendant in any employment decision involving Plaintiff.

                                  FIFTH DEFENSE

      Plaintiff cannot state a prima facie case of retaliation under Title VII against

Defendant.

                                  SIXTH DEFENSE

      Plaintiff cannot state a prima facie case of retaliation under the PHRA against

Defendant.

                                 SEVENTH DEFENSE

      Plaintiff’s claims are barred, in whole or in part, because Defendant has a

policy against discrimination on the basis of sex and a reasonable and available

procedure for handling complaints thereof, which provides for prompt and effective

responsive action and prohibits any retaliatory conduct. This policy was clearly and

adequately communicated to Plaintiff. Defendant exercised reasonable care to


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prevent any alleged unlawful discriminatory or retaliatory behavior. To the extent

that Plaintiff failed to exercise reasonable care in avoiding the alleged harm under

Defendant’s policies and procedures by utilizing or otherwise availing herself of this

policy and procedure, her claims of alleged discrimination and retaliation on the

basis of sex are barred.

                               EIGHTH DEFENSE

      Plaintiff’s claims may be barred in whole or in part by the doctrine of after-

acquired evidence.

                                NINTH DEFENSE

      Plaintiff’s claims may be barred in whole or in part by the doctrines of laches,

fraud, waiver, estoppel and/or unclean hands.

                                TENTH DEFENSE

      Plaintiff is not entitled to the punitive or other damages requested in the

Complaint.

                             ELEVENTH DEFENSE

      Plaintiff’s claims are barred, in whole or in part, by her failure to mitigate

damages, if any, and to the extent Plaintiff has earned or will earn amounts from

subsequent employment, Defendant is entitled to a credit against any alleged

damages.




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                              TWELTH DEFENSE

      Plaintiff’s claims are barred, in whole or in part, because there is no causal

connection between Plaintiff’s complaints of discrimination on the basis of sex and

the termination of her employment.

                           THIRTEENTH DEFENSE

      Any damages sustained by Plaintiff were due to her own acts or omissions,

not the acts or omissions of Defendant.

                         RESERVATION OF RIGHTS

      Defendant has insufficient knowledge or information on which to form a

belief as to whether it may have additional, as yet unstated, defenses available.

Defendant reserves the right to amend or assert additional defenses which may

become known during the course of discovery or revealed during pretrial

proceedings.




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                                     Respectfully submitted,


                                         By: /s/ Thomas G. Collins
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                                           The Pennsylvania State University

Date: August 5, 2022




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                        CERTIFICATE OF SERVICE

      I hereby certify that on August 5, 2022, a true and complete copy of the

foregoing document was transmitted via CM/ECF to the Court for filing and for

service upon the following:


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                                          /s/ Thomas G. Collins
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